     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 1 of 37 Page ID #:244



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11                           UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                Nos. CR 85-606-JAK; 88-129-JAK

14              Plaintiff,                    UNITED STATES’ RESPONSE TO
                                              DEFENDANT’S MOTION TO REDUCE
15                    v.                      SENTENCE PURSUANT TO 18 U.S.C.
                                              § 3582(C)(1)(A)
16   JUAN RAMON MATTA-LOPEZ,

17              Defendant.

18

19         Plaintiff United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California and Assistant United States Attorney Amy E. Pomerantz,
22   hereby files this response to defendant Juan Matta-Lopez’s (also
23   known as Juan Ramon Matta-Ballesteros’s) motion to reduce his
24   sentence pursuant to 18 U.S.C. § 3582(c)(1)(A).          The government asks
25   this Court to dismiss the motion, which relies on a statute that does
26   not apply to defendant’s convictions.         Even if the Court reaches the
27   merits, however, the motion must be denied.
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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 2 of 37 Page ID #:245



1          This opposition is based upon the attached memorandum of points

2    and authorities, the files and records in this case, and such further

3    evidence and argument as the Court may permit.

4     Dated: April 26, 2020                Respectfully submitted,

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 3 of 37 Page ID #:246



1                                   TABLE OF CONTENTS
2    DESCRIPTION                                                                     PAGE

3    I.    INTRODUCTION...................................................1

4    II.   STATEMENT OF FACTS.............................................2

5          A.   Defendant’s Crimes and Sentence...........................2

6          B.   Incarceration and Projected Release Date..................4

7          C.   Defendant’s Current Motion for Compassionate Release
                and Failure to Exhaust Administrative Remedies............4
8
           D.   The Bureau of Prisons’ and Congress’s Response to
9               COVID-19..................................................4

10   III. ARGUMENT.......................................................8

11         A.   Because 18 U.S.C. § 3582(c) Does Not Apply to
                Defendant, He May Not Petition the Court Directly for
12              Release..................................................10

13         B.   Defendant is Likewise Ineligible For Relief Under 18
                U.S.C. § 3582(c)(1), Even If It Were to Apply............12
14
                1.    Legal framework for compassionate release under
15                    18 U.S.C. § 3582(c).................................12

16              2.    Defendant Has Failed to Exhaust Administrative
                      Remedies, Thus Depriving this Court of Authority
17                    to Consider His Claims..............................15

18                    a.    Defendant did not wait the required 30 days
                            before raising this motion with the Court......16
19
                      b.    Failure to exhaust cannot be excused...........16
20
                3.    Defendant Has Failed to Demonstrate an
21                    “Extraordinary and Compelling” Reason to Allow
                      Release in His Case.................................19
22
                      a.    Defendant is not eligible for compassionate
23                          release........................................20

24                    b.    Defendant remains a danger to the community,
                            likewise defeating his eligibility.............25
25
                4.    Even If Defendant Were Otherwise Eligible, 18
26                    U.S.C. § 3553(a) Factors Do Not Support a Shorter
                      Sentence............................................28
27
     IV.   CONCLUSION....................................................29
28

                                             i
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 4 of 37 Page ID #:247



1                                 TABLE OF AUTHORITIES
2    DESCRIPTION                                                              PAGE(S)

3    CASES
4    Bowles v. Russell,
          551 U.S. 205 (2007)...........................................16
5
     Fort Bend County v. Davis,
6         139 S. Ct. 1843 (2019)........................................17

7    Landgraf v. USI Film Prods.,
          511 U.S. 244 (1994)...........................................16
8
     Meyers v. Bethlehem Shipping Corp.,
9         303 U.S. 41 (1938)............................................17

10   Ross v. Blake,
          136 S. Ct. 1850 (2016)........................................17
11
     Shaw v. Bank of America Corp.,
12        946 F.3d 533 (9th Cir. 2019)..........................13, 15, 16

13   United States v. Applewhite,
          No. 08-CR-60037,
14        2020 WL 137452 (D. Or. Jan. 13, 2020).....................25, 27

15   United States v. Ayon-Nunez,
          No. 16-CR-130-DAD,
16        2020 WL 704785 (E.D. Cal. Feb. 12, 2020)......................22

17   United States v. Butler,
          970 F.2d 1017 (2d Cir. 1992)..................................14
18
     United States v. Chambliss,
19        948 F.3d 691 (5th Cir. 2020)..................................14

20   United States v. Davis,
          No. 19-1604,
21        ECF No. 50 (3d Cir. Mar. 20, 2020)............................24

22   United States v. Ebbers,
          --- F. Supp. 3d. ---,
23        2020 WL 91399 (S.D.N.Y. Jan. 8, 2020).................15, 18, 19

24   United States v. Eberhart,
          No. 13-CR-313-PJH-1,
25        2020 WL 1450745 (N.D. Cal. Mar. 25, 2020).........16, 17, 18, 20

26   United States v. Gileno,
          No. 19-CR-161-VAB-1,
27        2020 WL 1307108 (D. Conn. Mar. 19, 2020)..................18, 22

28

                                            ii
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 5 of 37 Page ID #:248



1                          TABLE OF AUTHORITIES (CONTINUED)
2    DESCRIPTION                                                                     PAGE

3    United States v. Gotti,
          No. 02-CR-743,
4         2020 WL 497987 (S.D.N.Y. 2020)................................25

5    United States v. Greenhut,
          No. 18-CR-48-CAS,
6         2020 WL 509385 (C.D. Cal. Jan. 31, 2020)......................14

7    United States v. Hamilton,
          715 F.3d 328 (11th Cir. 2013).................................14
8
     United States v. Hir,
9         517 F.3d 1081 (9th Cir. 2008).................................26

10   United States v. Mangarella,
          No. 06-CR-151,
11        2020 WL 1291835 (W.D.N.C. Mar. 16, 2020)......................14

12   United States v. Mayer,
          235 U.S. 55 (1914)............................................17
13
     United States v. McGraw,
14        No. 2:02-CR-00018-LJM,
          2019 WL 2059488 (S.D. Ind. May 9, 2019).......................28
15
     United States v. Neman,
16        No. 14-521-JAK,
          ECF No. 863 (C.D. Cal. Mar. 30, 2020).....................18, 19
17
     United States v. Reynolds,
18        956 F.2d 192 (9th Cir. 1992)..................................26

19   United States v. Rodriguez,
          CR 11-148-JVS,
20        ECF No. 2021 (C.D. Cal. Mar. 21, 2020).........................1

21   United States v. Shah,
          No. 10-70-CJC,
22        ECF No. 329 (C.D. Cal. Mar. 30, 2020).....................17, 22

23   United States v. Sloane,
          No. 19-CR-10117-IT-11,
24        ECF No. 647 (D. Mass. Mar. 19, 2020)..........................18

25   United States v. Spears,
          No. 98-CR-208-SI-22,
26        2019 WL 5190877 (Oct. 15, 2019)...............................27

27   United States v. Urso,
          No. 03-CR-1382,
28        2019 WL 5423431 (E.D.N.Y. Oct. 23, 2019)......................25

                                            iii
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 6 of 37 Page ID #:249



1                          TABLE OF AUTHORITIES (CONTINUED)
2    DESCRIPTION                                                                     PAGE

3    United States v. Wages,
          271 F. App’x 726 (10th Cir. 2008).............................15
4
     United States v. Weidenhamer,
5         No. CR16-01072-001-PHX-ROS,
          2019 WL 6050264 (D. Az. Nov. 8, 2019).........................13
6
     United States v. Willingham,
7         No. CR113-010,
          2019 WL 6733028 (S.D. Ga. Dec. 10, 2019)......................20
8
     United States v. Willis,
9         382 F. Supp. 3d 1185 (D.N.M. 2019)............................15

10   STATUTES
11   18 U.S.C. § 3142(g)............................................26, 28

12   18 U.S.C. § 3582(c)............................................passim

13   18 U.S.C. § 3621(b).................................................8

14   18 U.S.C. § 3622.................................................8, 9

15   18 U.S.C. § 3624....................................................8

16   18 U.S.C. § 4205(g)............................................passim

17   28 U.S.C. § 994(t).........................................10, 11, 28

18   OTHER AUTHORITIES
19   Attorney General, Memorandum for Director of Bureau of Prisons
          Re: Prioritization of Home Confinement as Appropriate in
20        Response to COVID-19 Pandemic (March 26, 2020),
          available at https://www.justice.gov/file/1262731/download.....7
21
     California Executive Order N-33-20 (March 19, 2020),
22        available at https://covid19.ca.gov/img/Executive-Order-N-
          33-20.pdf.....................................................21
23
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24        Act”),
          Pub. L. No. 116-136,
25        134 Stat. 281 (March 27, 2020).................................6

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          Influenza Plan---Module 1: Surveillance and Infection
27        Control (Oct. 2012),
          available at
28        https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf........3

                                            iv
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 7 of 37 Page ID #:250



1                          TABLE OF AUTHORITIES (CONTINUED)
2    DESCRIPTION                                                                     PAGE

3    Federal Bureau of Prisons Health Services Division, Pandemic
          Influenza Plan---Module 3: Health Care Delivery (Oct.
4         2012),
          available at
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          17, 2019),
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          https://www.bop.gov/policy/progstat/5050_050_EN.pdf........7, 17
9
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10        Furloughs (January 20, 2011),
          available at
11        https://www.bop.gov/policy/progstat/5280_009.pdf...............7

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          Infectious Disease Management (Jun. 3, 2014),
13        available at
          https://www.bop.gov/policy/progstat/6190_004.pdf...............4
14
     Federal Bureau of Prisons, Action Plan Phase V (Mar. 31, 2020),
15        available at
          https://www.bop.gov/resources/news/20200331_covid19_action_
16        plan_5.jsp..................................................4, 5

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          Modified Operations (Mar. 13, 2020),
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          https://www.bop.gov/resources/news/20200313_covid-19.jsp....4, 5
19
     Federal Bureau of Prisons, COVID-19 Coronavirus,
20        available at https://www.bop.gov/coronavirus/index.jsp.........6

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          2020),
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          https://www.bop.gov/resources/news/20200326_statement_from_
23        director.jsp.............................................3, 5, 6

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          available at
25        https://www.bop.gov/resources/news/pdfs/20200324_bop_press_
          release_covid19_update.pdf.....................................5
26

27

28

                                             v
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 8 of 37 Page ID #:251



1                          TABLE OF AUTHORITIES (CONTINUED)
2    DESCRIPTION                                                                     PAGE

3    Federal Bureau of Prisons, Updates to BOP COVID-19 Action Plan:
          Inmate Movement (Mar. 19, 2020),
4         available at
          https://www.bop.gov/resources/news/20200319_covid19_update.
5         jsp 3

6    REGULATIONS
7    USSG § 1B1.13..................................................passim

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 9 of 37 Page ID #:252



1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Defendant, a former high-ranking cartel leader who is serving

4    two consecutive life sentences, asks this Court to permanently

5    release him from custody so that he may return to Honduras, where he

6    will not be subject to any form of supervision.          It should not do so.

7    “The COVID-19 pandemic is gripping the nation.          But that is a fate

8    that affects all citizens, . . . not simply those incarcerated.”

9    Order, United States v. Rodriguez, CR 11-148-JVS, ECF No. 2021 (C.D.

10   Cal. Mar. 21, 2020).      Nevertheless, without satisfying 18 U.S.C

11   § 3582(c)(1)(A)’s mandatory exhaustion requirement or eligibility

12   criteria; based on bare speculation about an uncontained COVID-19

13   outbreak at USP Canaan, where there are currently zero reported

14   COVID-19 case among inmates and staff members; and while ignoring his

15   continuing danger to the community, defendant seeks immediate--and

16   permanent--release from custody.        (ECF No. 248, “Motion.”)      Neither

17   statutory authority nor public health demands such a windfall.

18   Moreover, defendant’s logic would endorse the mass release of

19   convicted criminals into a pandemic, without regard for the factors

20   justifying their sentences or for the Bureau of Prisons’ (BOP’s)

21   individualized risk assessment.

22         Defendant’s compassionate-release motion must be dismissed or

23   denied, for three reasons.       First, because defendant is serving life

24   sentences for offenses committed prior to November 1, 1987, the

25   provisions of 18 U.S.C. § 3582(c)--including its compassionate-

26   release provisions--do not apply to him at all.          Under the applicable

27   statute, 18 U.S.C. § 4205(g), he is not authorized to petition this

28   Court directly for relief; only the Bureau of Prisons (BOP) may do
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 10 of 37 Page ID #:253



1    so.   Second, even if section 3582(c) did apply, defendant has failed

2    to comply with its mandatory exhaustion requirement--requiring

3    dismissal of the motion or, at minimum, a stay until the appropriate

4    time has passed.     And third, even if the Court could reach the

5    motion’s merits, defendant is neither eligible for nor entitled to

6    relief.

7    II.   STATEMENT OF FACTS
8          A.    Defendant’s Crimes and Sentence
9          Defendant, a high-ranking former member of the Guadalajara

10   cartel, trafficked millions of dollars in Colombian cocaine into the

11   United States in the early 1980s.        (Presentence Report (“PSR”).)           He

12   dealt regularly with cartel leaders, including drug kingpin Miguel

13   Angel Felix Gallardo.      (Id.)    Defendant’s criminal history dates back

14   to the 1960s and includes numerous federal convictions, including

15   convictions for his role in the infamous February 7, 1985 kidnapping,

16   torture, and murder of DEA Special Agent Enrique (“Kiki”) Camarena,

17   and his informant, Alfredo Zavala. 1

18

19        1 Matta was tried by jury in the Camarana case, in C.D. Cal. No.
     CR 87-00422. In July 1990, the jury convicted him of multiple counts
20   related to the murder: Count 3, aiding, abetting, and otherwise
     willfully participating in the kidnapping and murder of Special Agent
21   Camarena for the purpose of maintaining and increasing defendant’s
     position within a racketeering enterprise, in violation of 18 U.S.C.
22   §§ 1959, 2(a); Count 5, conspiracy to kidnap and hold Special Agent
     Camarena for the purpose of interrogating him on account of the
23   performance of his official duties, in violation of 18 U.S.C.
     §§ 1201(c); and Count 6, aiding, abetting, and otherwise willfully
24   participating in the abduction and holding of Special Agent Camarena
     while he was engaged in, and on account of, the performance of his
25   official duties, in violation of 18 U.S.C. §§ 1201(a)(5),2(a). Matta
     was sentenced to concurrent terms of life imprisonment as to each of
26   those three convictions.
27        As the Court is aware, it vacated these convictions based on
     issues relating to forensic hair evidence, granting defendant a new
28   trial under 28 U.S.C. § 2255. The government decided not to re-try
     the charges related to SA Camarena and thus they were dismissed.
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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 11 of 37 Page ID #:254



1           At present, defendant is serving two consecutive life sentences

2    arising from two different cases in this District.           In the first

3    case, CR 85-00606-PAR, defendant was convicted by a jury of all seven

4    counts in the indictment: (1) Conspiracy to Possess with Intent to

5    Distribute Controlled Substances, 21 U.S.C. § 846, 841(a)(1) (Count

6    1); Distribution of Controlled Substances, 21 U.S.C. § 841(a)(1)

7    (Counts 2-5); Possession with Intent to Distribute Narcotic

8    Controlled Substance, 21 U.S.C. § 841(a)(1) (Count 6); and Continuing

9    Criminal Enterprise, 21 U.S.C. § 848 (Count 7).           (PSR at 5.)    The

10   overt acts charged in the conspiracy counts involved the receipt,

11   transfer, and possession of approximately 470 kilograms of cocaine

12   and in excess of $20 million in cash from cocaine sales. (PSR at 10.)

13   As charged in Count 7, defendant occupied a management position in

14   this narcotics enterprise and gained significant proceeds. (PSR at

15   11.)    Specifically, ledgers introduced at trial showed the receipt of

16   over $22 million by one of defendant’s co-conspirators on defendant’s

17   behalf. (PSR at 13.) On January 16, 1990, defendant was sentenced to

18   a non-parole eligible life sentence concurrent to five 15-year

19   sentences running consecutive to one another.           (Williams Decl. ¶ 5,

20   Exh. A.)

21          In the second case, CR No. 88-129-WJR, defendant was likewise

22   convicted by jury of numerous conspiracy and drug distribution

23   charges, along with a continuing criminal enterprise charge.             (PSR at

24   27.)    As alleged in the indictment in this case, defendant obtained

25   thousands of pounds of Columbian cocaine and directed planes to

26   transport the narcotics into Southern California, where it was then

27   distributed by local dealers working in defendant’s network. (CR 88-

28   129-WJR, Dkt. 1.)      On March 11, 1991, defendant was sentenced to a

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 12 of 37 Page ID #:255



1    life sentence on the continuing criminal enterprise charge,

2    concurrent with ten (10) consecutive 15-year sentences for which he

3    could become parole eligible after serving one-third of the sentence.

4    (Williams Decl. ¶ 6, Exh. A.)        This life sentence runs consecutively

5    with the life sentence imposed in case number CR 85-606-PAR, which

6    defendant is still serving.       (Id.)

7          B.    Incarceration and Projected Release Date
8          Defendant is currently serving his two consecutive life

9    sentences at USP Canaan, in Pennsylvania. He has no projected release

10   date.

11         C.    Defendant’s Current Motion for Compassionate Release and
                 Failure to Exhaust Administrative Remedies
12
           On March 30, 2020, defendant submitted a compassionate-release
13
     request to the BOP by electronic mail. (Williams Decl. ¶ 18, Exh. G.)
14
     The following day, the Warden of USP Canaan issued a letter denying
15
     defendant’s request, on the basis that defendant’s release would
16
     present a danger to the community.            (Id., Exh. H.)   The Warden
17
     further reasoned that “a release would minimize the severity of the
18
     offenses to which [defendant] was found guilty of.”             (Id.)
19
           On April 3, 2020, merely four days after he submitted his
20
     request to BOP, defendant filed this motion with the Court.             (Dkt.
21
     No. 248.)    At the foundation of defendant’s compassionate-release
22
     motion are allegations about the potential for an uncontained COVID-
23
     19 outbreak at his BOP facility.
24
           D.    The Bureau of Prisons’ and Congress’s Response to COVID-19
25
           BOP has taken aggressive steps to protect inmates’ health and to
26
     resist the spread of COVID-19.        “[M]aintaining safety and security of
27
     BOP institutions is [the BOP’s] highest priority.”             BOP, Updates to
28

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 13 of 37 Page ID #:256



1    BOP COVID-19 Action Plan: Inmate Movement (Mar. 19, 2020), available

2    at https://www.bop.gov/resources/news/20200319_covid19_update.jsp.

3    Thus, the BOP Director recently emphasized that the “response [to

4    COVID-19] is the Bureau’s top priority.”          BOP, Statement from BOP

5    Director (Mar. 26, 2020) (Statement from BOP Director), available at

6    https://www.bop.gov/resources/news/20200326_statement_from_director.j

7    sp.

8          The BOP has never underestimated the threat of infectious

9    disease.    To the contrary, the BOP has had a Pandemic Influenza Plan

10   in place since 2012.      Id.; BOP, Pandemic Influenza Plan---Module 1:

11   Surveillance and Infection Control (Oct. 2012), available at

12   https://www.bop.gov/resources/pdfs/pan_flu_module_1.pdf.             That

13   protocol is astoundingly detailed, establishing a six-phase framework

14   requiring BOP facilities to begin preparations when there is first a

15   “suspected human outbreak overseas.”          Id. at i (emphasis added).

16         At extremely early stages, the Pandemic Influenza Protocol

17   requires BOP facilities to ensure inmates’ access to soap, to train

18   them on hand-hygiene practices, and to ensure adequate infection-

19   control supplies.      Id. at 9.    For every phase thereafter (from

20   preliminary preparation, to a response to active pandemic, to

21   recovery), it includes detailed procedures required of every BOP

22   facility.    Id. at 9-11.     These include policies for ensuring for

23   creating “social distance” and for requiring “frequent environmental

24   cleaning of ‘high-touch’ surfaces.”          Id. at 2-3, 6.    Facilities must

25   follow protocols on how to identify sick inmates, track their

26   interactions, and quarantine the exposed.          Id. at 4-5.    They must

27   also establish contingency plans to ensure that medical care is not

28   disrupted, even when faced with an influx of sick inmates.             BOP,

                                              5
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 14 of 37 Page ID #:257



1    Pandemic Influenza Plan---Module 3: Health Care Delivery (October

2    2012), available at

3    https://www.bop.gov/resources/pdfs/pan_flu_module_3.pdf.             (The BOP

4    has similar protocols for a wide range of diseases.            See BOP Program

5    Statement No. 6190.04, Infectious Disease Management (June 3, 2014),

6    available at https://www.bop.gov/policy/progstat/6190_004.pdf.)

7          The BOP implemented its Pandemic Influenza Protocol in January

8    2020, modified as a COVID-19 Action Plan.          BOP, Action Plan Phase V

9    (Mar. 31, 2020) (“Action Plan Phase V”), available at

10   https://www.bop.gov/resources/news/20200331_covid19_action_plan_5.jsp

11   In Phase 1 of that plan, the BOP began developing policies in

12   consultation with the Centers for Disease Control.           See BOP, COVID-19

13   Action Plan: Agency-Wide Modified Operations (March 13, 2020) (“BOP

14   Action Plan”), available at

15   https://www.bop.gov/resources/news/20200313_covid-19.jsp.

16         Since then, the BOP has serially escalated its response.            BOP,

17   Bureau of Prisons Update on COVID-19 (Mar. 24, 2020), available at

18   https://www.bop.gov/resources/news/pdfs/20200324_bop_press_release_co

19   vid19_update.pdf.      On March 13, the BOP moved to Phase 2 of its

20   Action Plan, taking steps to “mitigate the spread of COVID-19” in

21   prisons, for the protection of both inmates and staff.             See BOP

22   Action Plan, supra.      The BOP suspended social and legal visits,

23   curtailed inmate movement, established enhanced screening procedures

24   for inmates and staff, and curtailed staff travel.           Id.   Consistent

25   with the Pandemic Flu Protocol, facilities adopted “modified

26   operations”---including staggered meal and recreation times---to

27   promote social distancing.       Id.   Just five days later, the BOP

28   escalated to Phase 3--taking additional steps, including ensuring

                                              6
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 15 of 37 Page ID #:258



1    that “all cleaning, sanitation, and medical supplies” had been

2    inventoried and were adequately stocked.          Id.

3          Phases 4 and 5 followed in late March; Phase 6 followed in mid-

4    April.    Beginning March 26, the BOP required all newly admitted

5    inmates to be quarantined or isolated for a minimum of 14 days “or

6    until cleared by medical staff.”        See Action Plan Phase V, supra.          On

7    April 1, the BOP instituted a nationwide lockdown.           Id.   For at least

8    a two-week period, “inmates in every institution [were] secured in

9    their assigned cells/quarters to decrease the spread of the virus.”

10   Id.   The BOP has also “significantly decreas[ed] incoming movement.

11   Id.   Modified operations will continue, for all institutions, until

12   at least May 18, 2020.      Federal Bureau of Prisons, Bureau of Prisons

13   COVID-19 Action Plan: Phase Six (April 14, 2020), available at

14   https://www.bop.gov/resources/news/pdfs/20200414_press_release_action

15   _plan_6.pdf.

16         Meanwhile, the BOP has continued working with the CDC,

17   confirming that its approach aligns with current CDC guidance for

18   COVID management in correctional facilities.            Federal Bureau of

19   Prisons, Correcting Myths About BOP and COVID-19, at 1, available at

20   https://www.bop.gov/coronavirus/docs/correcting_myths_and_misinformat

21   ion_bop_covid19.pdf (“Correcting Myths”).           Currently, BOP medical

22   staff are “conducting rounds and checking inmate temperatures at

23   least once a day”--twice a day where inmates are quarantined or in

24   isolation.    Id.   All BOP staff and inmates have been issued cloth

25   masks to wear on a daily basis--with staff required to wear masks,

26   gloves, and potentially gowns when dealing with isolated and

27   quarantined inmates.      Id. at 1, 3.       “Cleaning supplies have been

28   provided to inmates,” and the BOP has provided training on CDC best

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 16 of 37 Page ID #:259



1    practices regarding disease transmission and prevention (including

2    sanitation).     Id. at 2.    Common areas are sanitized multiple times a

3    day.    Id. at 3.

4           The gravity and severity of these measures reflect BOP’s

5    commitment to fighting COVID-19 and protecting inmates.            And,

6    although the BOP has not been immune from the pandemic, it has “thus

7    far been fortunate in that [its] rate of COVID-19 infection is

8    remarkably low.”     Statement from BOP Director, supra.         There have

9    been no inmates diagnosed with COVID-19 in defendant’s facility to

10   date.    And, as of today--despite tens of thousands of COVID-19 cases

11   across the country and over 150,000 inmates under BOP’s care--799 BOP

12   inmates have been diagnosed with COVID-19.          All are (or were)

13   isolated from fellow inmates and receiving medical treatment; 385

14   have recovered.      BOP, COVID-19 Coronavirus (updated daily at 12pm

15   Pacific), available at https://www.bop.gov/coronavirus/index.jsp

16   (last visited April 26, 2020).        “Inmates whose conditions cannot be

17   managed within the institution are sent to the local hospital[.]”

18   Correcting Myths, supra, at 2.

19          Of course, “as warned by the Surgeon General of the United

20   States, [the BOP] expect[s] to have more cases as the virus continues

21   to spread in the general community,” but they “will continue to

22   diligently support all persons system-wide while doing everything

23   [they] can to do [their] part in mitigating the spread of the virus.”

24   Statement from BOP Director, supra.

25   III. ARGUMENT
26          Defendant’s motion should be summarily rejected because he is

27   ineligible to petition the Court directly for compassionate release.

28

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 17 of 37 Page ID #:260



1          The general rule is that a district court may not modify a term

2    of imprisonment once it has been imposed unless Congress has created

3    exceptions to this rule of finality.         As the Supreme Court has

4    recognized, finality is an important attribute of criminal judgments,

5    and one “essential to the operation of our criminal justice system.”

6    Teague v. Lane, 489 U.S. 288, 309 (1989) (plurality opinion).

7    Accordingly, it is well established that once a district court has

8    pronounced sentence and the sentence becomes final, the court has no

9    inherent authority to reconsider or alter that sentence.             Rather, it

10   may do so only if authorized by statute.          See, e.g., Dillon v. United

11   States, 560 U.S. 817, 824–25 (2010); United States v. Addonizio, 442

12   U.S. 178, 189 & n.16 (1979); United States v. Washington, 549 F.3d

13   905, 917 (3d Cir. 2008); United States v. Smartt, 129 F.3d 539, 540

14   (10th Cir. 1997).      One such is 18 U.S.C. § 3582(c)--but it does not

15   apply to defendant at all.

16         Because defendant was convicted before November 1, 1987, he is

17   subject to 18 U.S.C. § 4205(g) rather than 18 U.S.C. § 3582.             Under

18   section 4205(g), only BOP rather than the defendant can move for

19   relief.    BOP has not filed such a motion on defendant’s behalf.            And

20   indeed, it cannot: defendant’s life sentence without parole renders

21   him an “ineligible offender” under BOP regulations.            28 C.F.R.

22   § 571.64.    On this basis alone, defendant’s motion must be dismissed.

23         But even if 18 U.S.C. § 3582(c) did apply to defendant, it

24   provides no path to relief.       At present, defendant’s motion is

25   unexhausted.     And even if this Court could reach the motion’s merits,

26   defendant’s claims must fail: he is not eligible for compassionate

27   release and, even if he were, the COVID-19 crisis does not justify a

28   permanent reduction of his well-deserved consecutive life sentences.

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 18 of 37 Page ID #:261



1          A.    Because 18 U.S.C. § 3582(c) Does Not Apply to Defendant, He
                 May Not Petition the Court Directly for Release
2

3          This Court should dismiss defendant’s motion for compassionate

4    release because the applicable statute, 18 U.S.C. § 4205(g), does not

5    permit defendant to seek such relief directly from the Court.

6          Prior to the Sentencing Reform Act of 1984 (“SRA”), 18 U.S.C.

7    § 4205(g) governed when a sentencing court could reduce the sentence

8    of a federally-convicted prisoner.         The SRA then repealed section

9    4205(g) and replaced it with 18 U.S.C. § 3582(c), which became

10   effective on November 1, 1987.        Unlike section 4205(g), which

11   required that any motion for relief be brought by the BOP, 28 C.F.R.

12   §§ 571.60, 571.62, section 3582(c), as amended by the First Step Act

13   in 2018, permits a federal inmate to petition the sentencing court

14   directly for compassionate release (after exhaustion of

15   administrative remedies, or after 30 days from the receipt of the

16   inmate’s request for compassionate release with the warden of the

17   facility, whichever comes earlier).         18 U.S.C. § 3582(c)(1)(A).

18         Contrary to what defendant’s motion assumes, section 3582(c)

19   simply does not apply to him at all.         Amendments to the SRA

20   explicitly provide that section 3582(c) would apply only to offenses

21   occurring after its effective date; 2 offenses committed prior to

22   November 1, 1987 were deemed subject to “preexisting law”--namely,

23   section 4205(g).     See United States v. Scarbrough, 1:73-CR-32-HAB,

24   2019 WL 2482710, at *2 (N.D. Ind., 2019) (citing SRA § 235(a)(1); as

25

26
           2The Senate Report on the provision establishing the effective
27   date stated: “[a]s to an offense committed prior to the effective
     date, the preexisting law will apply as to all substantive matters
28   including the imposable sentence.” S. Rep. No. 98-225, 98th Cong.,
     1st Sess, 189, reprinted in 1984 U.S.C.C.A.N. 3182, 3372.
                                       10
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 19 of 37 Page ID #:262



1    amended Sentencing Reform Amendments Act of 1985 § 2, Pub. L. 99-217,

2    99 Stat. 1728, Dec. 26, 1985; Sentencing Act of 1987 § 2, Pub. L.

3    100-182, 101 Stat. 1266, Dec. 7, 1987).

4          Here, both of the convictions for which defendant is serving

5    life sentences involved offense conduct that occurred before November

6    1, 1987.    First, as to case number CR 85-00606-PAR, the date of

7    offense conduct for the continuing criminal enterprise conviction is

8    listed as June 23, 1981.       (Williams Decl., Exh. A at 4.)        Similarly,

9    the offense underlying the continuing criminal enterprise charge in

10   case number CR 88-129-WJR occurred on July 24, 1984.            (Williams

11   Decl., Exh. A at 5.)      Thus, defendant is serving terms of

12   imprisonment for crimes that were committed before enactment of the

13   SRA; section 4205(g), not section 3582(c), thus governs.             See 28

14   C.F.R. § 572.40.

15         As noted, “[r]elief under section 4205(g) requires a motion by

16   BOP.”   Scarbrough, 2019 WL 2482710, at *2 (citing United States v.

17   Booker, 543 U.S. 220, 300 (2005) (noting that under § 4205(g)

18   “[s]entencing judges had the discretion to reduce a minimum term of

19   imprisonment upon the recommendation of the Bureau of Prisons”)).

20   Here, not only has BOP not filed a motion in support of defendant’s

21   release, the Warden at USP Canaan denied defendant’s request for a

22   reduction in sentence on grounds that his release would present a

23   danger to the community.       (Williams Decl., Exh. H.)       Moreover, BOP

24   regulations would preclude it from bringing a compassionate release

25   motion on defendant’s behalf: because defendant was sentenced to life

26   without parole in case number CR 85-00606-PAR, he is an “ineligible

27   offender” for purposes of compassionate release.           See 28 C.F.R.

28   § 571.6 (“The Bureau of Prisons cannot initiate such a motion [for

                                             11
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 20 of 37 Page ID #:263



1    compassionate release] on behalf of federal offenders who committed

2    their offenses prior to November 1, 1987, and received non-parolable

3    sentences.”)

4          The Court therefore can, and must, dismiss defendant’s motion on

5    this basis alone.      See Scarbrough, 2019 WL 2482710, at *2-3; United

6    States v. Woolum, Case No. 5:84-CR-21-TBR 2020 WL 1963787, at *2

7    (W.D. Ky., April 23, 2020) (dismissing compassionate release motion

8    for lack of jurisdiction where defendant’s sentence was imposed prior

9    to November 1, 1987 and defendant, not BOP, filed the motion); cf.

10   Sims v. Holenchik, No. CV 08-0978-RGK (MLG), 2009 WL 1505175 (C.D.

11   Cal., 2009) (habeas corpus petitioner was ineligible for

12   compassionate release where the petitioner committed his offenses

13   prior to November 1, 1987 and received a non-parolable sentence).

14         B.    Defendant is Likewise Ineligible For Relief Under 18 U.S.C.
                 § 3582(c)(1), Even If It Were to Apply
15
                 1.    Legal framework for compassionate release under 18
16                     U.S.C. § 3582(c)

17         As noted above, compassionate release is one of the few

18   exceptions to the rule precluding revision of criminal sentences

19   after their imposition, allowing a court to “reduce the term of

20   imprisonment (and . . . impose a term of probation or supervised

21   release with or without conditions that does not exceed the unserved

22   portion of the original term of imprisonment)[.]”           18 U.S.C.

23   § 3582(c)(1).     This relief, however, is both drastic and permanent.

24   It is thus subject to strict statutory conditions.

25         First, a district court can evaluate a defendant’s request for

26   compassionate release only “after the defendant has fully exhausted

27   all administrative rights” before the BOP.          Specifically:

28

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 21 of 37 Page ID #:264



1          after the defendant has fully exhausted all administrative
           rights to appeal a failure of the Bureau of Prisons to
2          bring a motion on the defendant’s behalf or the lapse of 30
           days from the receipt of such a request by the warden of
3          the defendant’s facility, whichever is earlier[.]

4    18 U.S.C. § 3582(c)(1)(A).       This requirement is mandatory and

5    jurisdictional.     See generally Shaw v. Bank of America Corp., 946

6    F.3d 533, 541 (9th Cir. 2019) (“statutorily-provided exhaustion

7    requirements deprive the court of jurisdiction”); United States v.

8    Weidenhamer, No. CR016-01072-001-PHX-ROS, 2019 WL 6050264, at *2

9    (D. Az. Nov. 8, 2019) (citing cases).

10         Second, in evaluating compassionate-release requests, courts

11   must follow both the statute and relevant, binding policy statements.

12   See id.; 28 U.S.C. § 994(t); USSG § 1B1.13.          Pursuant to those

13   authorities, to be eligible for compassionate release, a defendant

14   must demonstrate: (1) the existence of extraordinary and compelling

15   reasons, within the meaning of the statute; and (2) that he is not a

16   danger to the community.       18 U.S.C. § 3582(c)(1)(A).       Specifically,

17   the statute requires that any reduction be “consistent with

18   applicable policy statements issued by the Sentencing Commission”--in

19   this case, USSG § 1B1.13.       Id.   As the Supreme Court recognized in

20   Dillon, 560 U.S. at 827, because § 3582(c) permits a sentencing

21   reduction only where it is “consistent with applicable policy

22   statements issued by the Sentencing Commission,” such policy

23   statements are binding on a court determining eligibility.

24         USSG § 1B1.13 explicitly defines the “extraordinary and

25   compelling reasons” that make a defendant eligible for compassionate

26   release.    See 28 U.S.C. § 994(t).      They include, as relevant here,

27   (1) a “terminal illness”; (2) a serious medical condition that “that

28   substantially diminishes the ability of the defendant to provide

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 22 of 37 Page ID #:265



1    self-care within the environment of a correctional facility and from

2    which he or she is not expected to recover”; or (3) a defendant who

3    is at least 65 years old, is experiencing a serious deterioration in

4    physical or mental health because of the aging process, and “has

5    served at least 10 years or 75 percent of his or her term of

6    imprisonment, whichever is less.”        USSG § 1B1.13 (other grounds

7    omitted).    USSG § 1B1.13, comment. (n.1(A)-(B)).         “[R]ehabilitation

8    of the defendant is not, by itself, an extraordinary and compelling

9    reason for purposes of this policy statement.”           Id., comment. (n.3).

10         Defendant bears the burden to prove both that he has “exhausted

11   all administrative rights” and that “extraordinary and compelling

12   reasons” exist to support his motion.         18 U.S.C. § 3582(c)(1)(A); see

13   United States v. Greenhut, No. 18-CR-48-CAS, 2020 WL 509385, at *1

14   (C.D. Cal. Jan. 31, 2020) (defendant bears the burden of establishing

15   entitlement to sentencing reduction); United States v. Hamilton, 715

16   F.3d 328, 337 (11th Cir. 2013) (“defendant, as the § 3582(c)(2)

17   movant, bears the burden of establishing” eligibility); see generally

18   United States v. Butler, 970 F.2d 1017, 1026 (2d Cir. 1992) (“A party

19   with an affirmative goal and presumptive access to proof on a given

20   issue normally has the burden of proof as to that issue.”).

21         Third, even for defendants who are statutorily eligible,

22   compassionate release is a “rare” and “extraordinary” remedy, within

23   district courts’ discretion to deny.         United States v. Chambliss, 948

24   F.3d 691, 693-94 (5th Cir. 2020); United States v. Mangarella, No.

25   06-CR-151, 2020 WL 1291835, at *2–*3 (W.D.N.C. Mar. 16, 2020).

26   Specifically, “it is a rare case in which health conditions present

27   an ‘exceptional reason’” to allow for release where detention would

28   otherwise be warranted.       See, e.g., United States v. Wages, 271 F.

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 23 of 37 Page ID #:266



1    App’x 726, 728 (10th Cir. 2008) (collecting pre-trial detention

2    cases); accord United States v. Willis, 382 F. Supp. 3d 1185, 1188

3    (D.N.M. 2019) (“most courts treat compassionate release ‘due to

4    medical conditions [a]s ... a rare event.”).          This reluctance to

5    expansively apply compassionate release is grounded in a concern that

6    any less narrow application would yield significant sentencing

7    disparities.     United States v. Ebbers, --- F. Supp. 3d. ---, 2020 WL

8    91399, at *6 (S.D.N.Y. Jan. 8, 2020).

9                2.    Defendant Has Failed to Exhaust Administrative
                       Remedies, Thus Depriving this Court of Authority to
10                     Consider His Claims

11          At present, this Court lacks authority to act on defendant’s

12   compassionate-release motion at this time even if 18 U.S.C.

13   § 3582(c)(1)(A) applied to his crimes. Under section 3582(c)(1)(A),

14   the Court “may not modify a term of imprisonment once it has been

15   imposed except” upon a defendant’s motion “after the defendant has

16   fully exhausted all administrative rights to appeal a failure of the

17   Bureau of Prisons to bring a motion on the defendant’s behalf or the

18   lapse of 30 days from the receipt of such a request by the warden of

19   the defendant’s facility, whichever is earlier[.]”           Because this

20   statutory condition has not been satisfied here, the Court lacks

21   authority to adjudicate defendant’s claims.          See Shaw, 946 F.3d at

22   541.    Moreover, contrary to defendant’s assertion, failure to exhaust

23   cannot be excused.      Instead, as the Third Circuit recently held,

24   § 3882(c)(1)(A) “presents a glaring roadblock foreclosing

25   compassionate release at this point.         United States v. Raia, 954 F.3d

26   594, 597 (3d Cir. 2020).

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 24 of 37 Page ID #:267



1                      a.     Defendant did not wait the required 30 days
                              before raising this motion with the Court
2
           Defendant submitted his request for compassionate release on
3
     March 30, 2020.     (Williams Decl. ¶ 18, Exh. G.)        The following day,
4
     on March 31, 2020, the warden issued a letter denying his request for
5
     release.    (Id., Exh. H.)     However, 30 days have not elapsed, as
6
     required by 18 U.S.C. § 3582(c)(1)(A)(i).          Accordingly, this Court
7
     should dismiss his motion as premature or wait until the required 30
8
     days have elapsed.
9
                       b.     Failure to exhaust cannot be excused
10
           Contrary to what defendant argues, this Court may not simply
11
     “waive” administrative exhaustion requirements because of COVID-19.
12
     (Mot. at 11-20.)       “[S]tatutorily-provided exhaustion requirements
13
     deprive the court of jurisdiction and, thus, preclude any exercise of
14
     discretion by the Court.”       Shaw, 946 F.3d at 533 (citation omitted).
15
     Given § 3582(c)(1)(A)’s plain language and purpose, the requirements
16
     for filing a sentence reduction motion--including the that defendant
17
     exhaust administrative remedies or wait 30 days after filing a
18
     request with the warden--are jurisdictional.          Section 3582(c) states
19
     that a “court may not modify” a term of imprisonment except in
20
     enumerated circumstances.       18 U.S.C. § 3582(c).      It thus “speak[s] to
21
     the power of the court,” Landgraf v. USI Film Prods., 511 U.S. 244,
22
     274 (1994) (citation omitted), delineating “when, and under what
23
     conditions,” a court may exercise its “adjudicatory authority,”
24
     Bowles v. Russell, 551 U.S. 205, 212-13 (2007) (quoting Eberhart v.
25
     United States, 546 U.S. 12, 16 (2005) (per curiam)).            That conclusion
26
     is reinforced by courts’ historical powerlessness to modify a
27

28

                                             16
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 25 of 37 Page ID #:268



1    sentence once entered.      See Dillon, 560 U.S. at 825. United States v.

2    Mayer, 235 U.S. 55, 67-69 (1914).

3          Courts sometimes disagree whether time limits or other

4    restrictions are jurisdictional or instead are mandatory claim-

5    processing rules. See, e.g., Fort Bend County v. Davis, 139 S. Ct.

6    1843, 1848-50 (2019).      Although the government maintains that the 30-

7    day time limit in § 3582(c)(1)(A)is jurisdictional, the point is

8    ultimately academic.      Even if § 3682(c)(1)(A)’s exhaustion

9    requirement is not jurisdictional, it is at least a mandatory claim-

10   processing rule that must be enforced if a party “properly raise[s]”

11   it.   Eberhart, 546 U.S. at 19.       The government raises the rule here,

12   and it thus must be enforced.

13         COVID-19 does not alter this conclusion.          While judicially

14   created exhaustion requirements may sometimes be excused, a court may

15   not ignore a statutory command.        “[M]andatory exhaustion

16   statutes . . . establish mandatory exhaustion regimes, foreclosing

17   judicial discretion.”      Ross v. Blake, 136 S. Ct. 1850, 1857 (2016).

18   Thus, exhaustion remains mandatory regardless of a court’s view of

19   the merits: “[o]bviously, the rules requiring exhaustion of the

20   administrative remedy cannot be circumvented” simply by “asserting

21   that [an opposing party’s argument is] groundless[.]”            Meyers v.

22   Bethlehem Shipping Corp., 303 U.S. 41, 51-52 (1938).

23         Consistent with these rules, numerous courts have rejected

24   similar claims in the context of unexhausted COVID-19-based requests

25   for compassionate release.       “Because defendant failed to exhaust his

26   administrative remedies, his request for compassionate release based

27   on COVID-19 concerns fails.”        United States v. Shah, No. 10-70-CJC,

28   ECF No. 329, at 3 (C.D. Cal. Mar. 30, 2020).          Absent such exhaustion,

                                             17
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 26 of 37 Page ID #:269



1    the court “does not have authority to grant the requested relief.”

2    United States v. Sloane, No. 19-CR-10117-IT-11, ECF No. 647, at 2 (D.

3    Mass. Mar. 19, 2020) (noting no request made to the USP Lompoc

4    Warden); United States v. Gileno, No. 19-CR-161-VAB-1, 2020 WL

5    1307108, at *3—*4 (D. Conn. Mar. 19, 2020) (denying COVID-19-based

6    compassionate-release motion for lack of exhaustion); United States

7    v. Eberhart, No. 13-CR-313-PJH-1, 2020 WL 1450745, at *2 (N.D. Cal.

8    Mar25, 2020) (same); United States v. Neman, No. 14-521-JAK, ECF No.

9    863, at 4—6 (C.D. Cal. Mar. 30, 2020) (same).

10         Exhaustion is particularly inexcusable for errors that an

11   administrative tribunal is competent to address.           Barron v. Ashcroft,

12   358 F.3d 674, 678 (9th Cir. 2004).           Indeed, “[g]iven BOP’s shared

13   desire for a safe and healthy prison environment . . . strict

14   compliance with § 3582(c)(1)(A)’s exhaustion requirement takes on

15   added--and critical--importance.”        Raia, 954 F.3d, at 597.       Here, the

16   BOP is not merely competent to address defendant’s compassionate-

17   release claims; it is uniquely qualified to do so.           Until the First

18   Step Act, the BOP had exclusive authority to adjudicate such claims.

19   Notably, the First Step Act did not change the factors relevant to

20   compassionate release, only the procedures by which a defendant can

21   raise such claims.      Ebbers, 2020 WL 91399, at *4.       The BOP thus has

22   immense expertise, both in (1) assessing the safety and health of

23   their inmates and (2) managing the administration of their

24   facilities.     As noted above, it likewise has other administrative

25   procedures potentially available for addressing COVID-19-based

26   concerns--none of which defendant has given them an opportunity to

27   evaluate.    Exhaustion cannot--but also should not--be excused.

28   Eberhart, 2020 WL 1450745, at *2 (declining to excuse failure to

                                             18
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 27 of 37 Page ID #:270



1    exhaust COVID-19 compassionate-release motion); Neman, No. 14-521-

2    JAK, ECF No. 863, at 6 (same).

3          Until 30 days have elapsed since defendant applied for

4    compassionate release with BOP, this Court lacks authority to grant

5    relief.    18 U.S.C. § 3582(c)(1)(1).        The Court should thus dismiss

6    defendant’s motion.      At minimum, the Court should stay consideration

7    of the motion until the BOP has completed its administrative review.

8                3.    Defendant Has Failed to Demonstrate an “Extraordinary
                       and Compelling” Reason to Allow Release in His Case
9
           Even if the Court had authority to consider the merits of
10
     defendant’s unexhausted claims--which for multiple reasons, it does
11
     not--defendant has failed to establish his eligibility for
12
     compassionate release.      “The First Step Act did not revise the
13
     substantive criteria for compassionate release”--criteria that is set
14
     forth in the Sentencing Commission’s binding “policy statement,” USSG
15
     1B1.13.    Ebbers, 2020 WL 91399, at *4—*5; 18 U.S.C. § 3582(c)(1)(A).
16
     Here, defendant does not identify an “extraordinary and compelling
17
     reason warrant[ing]” a reduction under that definition.            18 U.S.C.
18
     § 3582(c)(1)(A).     He is thus ineligible for compassionate release.
19
           As the Third Circuit recently held, “[w]e do not mean to
20
     minimize the risks that COVID-19 poses in the federal prison system,”
21
     but the “mere existence of COVID-19 in society and the possibility
22
     that it may spread to a particular prison cannot independently
23
     justify compassionate release”--particularly given “BOP’s statutory
24
     rule, and its extensive and professional efforts to curtail the
25
     virus’s spread.”     Raia, 594 F.3d, at 597.
26

27

28

                                             19
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 28 of 37 Page ID #:271



1                      a.    Defendant is not eligible for compassionate
                             release
2
           As a matter of law, a defendant is eligible for compassionate
3
     release only if he can demonstrate “extraordinary and compelling
4
     reasons warrant[ing] such a reduction,” “consistent with applicable
5
     policy statements issued by the Sentencing Commission.”            Id.   Thus,
6
     as courts have recognized, Congress intended that the “Sentencing
7
     Commission, not the judiciary, determine what constitutes an
8
     appropriate use of the ‘compassionate release’ provision.”             United
9
     States v. Willingham, No. CR113-010, 2019 WL 6733028, at *2 (S.D. Ga.
10
     Dec. 10, 2019) (noting split in authority).          Although courts have
11
     taken different views on this issue, the government’s position is
12
     that the Sentencing Commission’s policy statement--USSG § 1B.1.13--is
13
     thus binding on this Court.       See Dillon, 560 U.S. at 827; see, e.g.,
14
     United States v. Saldana, --- F. App’x ---, 2020 WL 1486792 (10th
15
     Cir. Mar. 26, 2020); United States v. Nasirun, No. 8:99-CR-367, 2020
16
     WL 686030, at *2 (M.D. Fla. Feb. 11, 2020); United States v.
17
     Rivender, No. 10-CR-222, 2019 WL 3816671, at *3 (D. Conn. Aug. 14,
18
     2019); but see, e.g., United States v. Wade, No. 99-CR-257, 2020 WL
19
     1864906, at *4-*5 (C.D. Cal. Apr. 13, 2020).
20
           “General concerns about possible exposure to COVID-19 do not
21
     meet the criteria for extraordinary and compelling reasons for a
22
     reduction in sentence set forth in the Sentencing Commission’s policy
23
     statement[.]”     Eberhart, 2020 WL 1450745, *2.        Those criteria
24
     include, as relevant here:
25
              •   The medical condition “of the defendant”: specifically,
26
                  whether the defendant has either a “terminal illness” or a
27
                  “serious physical or medical condition” that “substantially
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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 29 of 37 Page ID #:272



1                  diminishes the ability of the defendant to provide self-

2                  care within the environment of a correctional facility and

3                  from which he . . . is not expected to recover.”         USSG

4                  § 1B1.13, comment. (n.1(A)(i)-(ii));

5              •   The “age of the defendant”: specifically, whether defendant
6                  is “at least 65 years old,” is “experiencing a serious

7                  deterioration in physical or mental health because of the

8                  aging process,” and has served at least 10 years or 75% of

9                  his term of imprisonment.     Id., comment. (n. 1(B)); or

10             •   “As determined by the Director of the Bureau of Prisons,
11                 there exists in the defendant’s case an extraordinary and

12                 compelling reason other than, or in combination with,” his

13                 illness, age, and family circumstances.       Id., comment.

14                 (n.1(D)). 3

15         The global COVID-19 pandemic is not a factor specific to

16   defendant’s case at all--and, while his anxieties are certainly not

17   frivolous, he offers no case-specific facts establishing his

18   eligibility for compassionate release under USSG § 1B1.13.             Although

19   defendant has health concerns, he primarily emphasizes the general

20   risk of COVID-19: arguments that are general, wide-ranging, and would

21   apply to essentially every unhealthy inmate presently in custody.

22   But, as of this filing, there are no reported cases of COVID-19

23   amongst inmates or staff at USP Canaan.          See BOP COVID-19 Coronavirus

24

25
           3Thus, the Court may consider factors set forth in the relevant
26   BOP regulation governing compassionate release: BOP Program Statement
     No. 5050.50, Compassionate Release/Reduction in Sentence: Procedures
27   for Implementation of 18 U.S.C. §§ 3582 and 4205(g) (January 17,
     2019), available at
28   https://www.bop.gov/policy/progstat/5050_050_EN.pdf. Those factors
     make no material difference here.
                                       21
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 30 of 37 Page ID #:273



1    Disease Resource, available at

2    https://www.bop.gov/coronavirus/index.jsp (last visited April 26,

3    2020).

4          Particularly considering both how the BOP has addressed COVID-19

5    generally, and the lack of specific concerns at USP Canaan

6    specifically, defendant’s circumstances are not sufficiently

7    extraordinary and compelling to justify a modified sentence.             Indeed,

8    defendant’s arguments totally overlook the BOP’s ability to treat

9    infectious disease.      Even chronic conditions “that can be managed in

10   prison are not a sufficient basis for compassionate release.”             United

11   States v. Ayon-Nunez, No. 16-cR-130-DAD, 2020 WL 704785, at *2–3

12   (E.D. Cal. Feb. 12, 2020).       Thus, the Court “cannot assume that the

13   Bureau of Prisons will be unable to manage [any] outbreak or

14   adequately treat [defendant] should it emerge at his correctional

15   facility while he is still incarcerated.”          Gileno, 2020 WL 1307108,

16   at *4 (denying compassionate-release motion in COVID-19-related case

17   involving a defendant who raised specific health concerns); accord

18   Shah, No. 10-70-CJC, ECF No. 329, at 3.          By defendant’s logic, such

19   conditions would universally qualify convicted inmates for shorter

20   sentences given the present pandemic.         That is and cannot be the

21   case.

22         Defendant’s specific health concerns do not alter this

23   conclusion.     Defendant points to myriad issues from which he suffers,

24   including:

25             •   Benign prostatic hyperplasia with lower urinary track
26                 symptoms, which causes him to have to urinate frequently

27                 (Mot. at 22);

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 31 of 37 Page ID #:274



1              •   Congestive heart failure, which caused him to suffer an
2                  episode of a fast abnormal heartbeat requiring

3                  hospitalization in May 2018 (Mot. at 21);

4              •   A 2017 diagnosis of chronic obstructive pulmonary disease,
5                  which is treated with inhalers (Mot. at 21);

6              •   Chronic low back pain and degenerative discs (Mot. at 22-
7                  23);

8              •   Knee issues, which led to surgery for a knee replacement
9                  on September 19, 2018 (Mot. at 23);

10             •   Macular degeneration (Mot. at 24); and
11             •   Cognitive impairment, including a 2017 diagnosis of a
12                 delusional disorder.

13         These health concerns do not, by themselves, satisfy USSG

14   § 1B1.13: defendant is not, for example, terminally ill, or subject

15   to a serious and unrecoverable condition that makes him unable to

16   “provide self-care” within a BOP facility.          USSG § 1B1.13, comment.

17   (n.1(A)(i)-(ii); see also United States v. Vangh, 2019 WL 6907983 (D.

18   Minn. Dec. 19, 2019) (denying motion for a 63-year-old legally blind

19   defendant who suffered numerous ailments, even though warden

20   recommended consideration for compassionate release; defendant failed

21   to demonstrate how his condition has substantially diminished his

22   ability to provide self-care within the environment of a correctional

23   facility, and each of his problems were addressed with assistive

24   devices).     Defendant’s medical records indicate that his health

25   issues are being adequately addressed with treatment; none of his

26   conditions are sufficiently serious to warrant housing at a BOP

27   medical facility. See United States v. Burgos-Martinez, 2019 U.S.

28   Dist. LEXIS 172925 (S.D. Fla. Oct. 4, 2019) (denying motion of a 78-

                                             23
     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 32 of 37 Page ID #:275



1    year-old defendant with failing health who was not housed at a

2    medical center and did not state that he was unable to care for

3    himself).

4          Indeed, a motions panel of the Third Circuit recently denied a

5    motion for bail pending appeal based on COVID-19 concerns that were

6    argued to be amplified because of the defendant’s specific health

7    problems.    In United States v. Davis, No. 19-1604, ECF No. 50 (3d

8    Cir. Mar. 20, 2020), appellant James Davis sought release from

9    custody pending appeal due to a “severe risk of death from COVID-19,”

10   and specifically alleged that he was 69 years old and suffered from

11   asthma, heart arrhythmia, high blood pressure, cystitis, and a

12   history of prostate cancer with radiological treatment.            See

13   Emergency Motion for Bail Pending Appeal, United States v. Davis, No.

14   19-1604, ECF No. 43-1 (3d Cir. Mar. 17, 2020).           The appellant further

15   argued that while incarcerated, he lived in a shared cell with bunk-

16   style beds, in a unit housing over 100 inmates, where inmates had

17   close physical interaction.       Id.   The motions panel for the Third

18   Circuit ruled:     “Appellant’s Emergency Motion for Bail Pending Appeal

19   Due to Coronavirus Risk is denied.           Appellant may renew the Emergency

20   Motion if he is diagnosed with COVID-19.”          Davis, ECF No. 50 (3d Cir.

21   Mar. 20, 2020).

22         Thus, the speculative possibility of COVID-19, even when

23   combined with defendant’s health issues, simply does not constitute

24   an extraordinary and compelling reason to release defendant early

25   from his sentence.      Nor has defendant provided any evidence that he

26   will be less likely to contract COVID-19 if released (particularly

27   given his stated intentions of international travel).            Defendant’s

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 33 of 37 Page ID #:276



1    circumstances are--in the present pandemic--far closer to ordinary

2    than “extraordinary.”      His motion must be denied.

3                      b.    Defendant remains a danger to the community,
                             likewise defeating his eligibility
4

5          Defendant’s motion--even if properly exhausted, and even if

6    defendant were otherwise eligible for relief--must also be denied

7    because, as his illustrious criminal history reflects, he remains a

8    danger to the community.

9          This Court may not reduce a defendant’s sentence unless it finds

10   that “the defendant is not a danger to the safety of any other person

11   or to the community, as provided in 18 U.S.C. § 3142(g).” USSG

12   § 1B1.13; see United States v. Gotti, No. 02-CR-743, 2020 WL 497987,

13   at *6 (S.D.N.Y. 2020) (release was inappropriate regardless of

14   extraordinary and compelling circumstances; defendant posed a

15   continuing danger to the public); accord United States v. Urso, No.

16   03-CR-1382, 2019 WL 5423431, at *3 (E.D.N.Y. Oct. 23, 2019); United

17   States v. Applewhite, No. 08-CR-60037, 2020 WL 137452, at *2 (D. Or.

18   Jan. 13, 2020) (denying compassionate release for seriously ill 80-

19   year-oldinmate based on danger).

20         The record here precludes any such finding.          To the contrary,

21   defendant poses a very real danger to the community.            Defendant is a

22   high-profile member of the Guadalajara cartel, who trafficked

23   millions of dollars’ worth of narcotics into the United States.              He

24   was a leader in the organization, and interacted with other powerful

25   cartel members.     Defendant’s criminal history spans several decades,

26   including a conviction for escape from federal custody, as well as

27   charges (that were ultimately dismissed) for his role in the

28   abduction, torture, and murder of DEA agent Kiki Camarena.

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 34 of 37 Page ID #:277



1          Given defendant’s criminal history and the nature of his crimes,

2    two different judges imposed life sentences, one without the

3    possibility of parole.      Notwithstanding that his consecutive life

4    sentences preclude release of any sort, defendant now asks to be

5    released to his family’s care in Honduras, where he will not be

6    subject to any form of supervision at all.          Under these

7    circumstances, there can be no adequate assurance that defendant will

8    not present a danger to the community upon release.            Indeed, for

9    these exact reasons, the warden at USP Canaan denied defendant’s

10   request.

11         Nothing about the COVID-19 pandemic reduces defendant’s danger.

12   Danger to the community is not limited to physical violence.             It can

13   take different forms.      See, e.g., United States v. Reynolds, 956 F.2d

14   192, 192 (9th Cir. 1992) (“[D]anger may, at least in some cases,

15   encompass pecuniary or economic harm.”). Moreover, in the current

16   climate, irresponsible social habits also gravely endanger the

17   community.    United States v. Hir, 517 F.3d 1081, 1088 (9th Cir. 2008)

18   (“community,” within the meaning of 18 U.S.C. § 3142, is not

19   necessarily confined to local geography).          All California residents

20   are currently required to shelter in place and “heed the current

21   State public health directives” to avoid the spread of COVID-19.

22   California Executive Order N-33-20 (March 19, 2020), available at

23   https://covid19.ca.gov/img/Executive-Order-N-33-20.pdf.            Such rules,

24   though enforceable by peace officers, rely largely on voluntary

25   compliance.     A person who ignores such rules could increase infection

26   rates, leading to citizens’ severe illness and death.            Defendant’s

27   history reflects, on a grand scale, an unwillingness to follow rules

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 35 of 37 Page ID #:278



1    and a disregard for the welfare of others--characteristics that now

2    have potentially fatal consequences.

3          Finally, defendant’s age and purported rehabilitation alone do

4    not satisfy his burden.       The standard for compassionate release is

5    not just whether someone is elderly and has performed well in prison.

6    To the contrary, “[p]ursuant to 28 U.S.C. § 994(t), rehabilitation of

7    the defendant is not, by itself, an extraordinary and compelling

8    reason for purposes of this policy statement.”           USSG § 1B1.13,

9    comment (n.3).     Even being a “model inmate” does not warrant an

10   “abrupt departure from [a defendant’s] current sentence.”

11   Applewhite, 2020 WL 137452, at *2.           Moreover, because there is a

12   significant difference between doing well in prison and doing well in

13   society, this Court, in evaluating the danger posed by defendant,

14   cannot ignore the nature and circumstances of the offense,

15   defendant’s ties to the community, and his criminal history.             18

16   U.S.C. § 3142(g).      An examination of those factors weighs against

17   release.

18         Defendant simply cannot be compared to the defendants in the

19   cases on which he relies.       Those defendants established that, based

20   on their significant medical issues and detailed release plans, they

21   no longer represented a danger to the community.           For example,

22   defendant Spears was serving a (mandatory, pre-Booker) life sentence,

23   had been placed at medical facility FCI Butner for medical treatment,

24   was diagnosed with an aggressive form of cancer along with other

25   chronic health problems, and presented a transition plan to live with

26   and be cared for by his family members.          United States v. Spears, No.

27   98-CR-208-SI-22, 2019 WL 5190877, at *1-*2 (Oct. 15, 2019).

28   Similarly, defendant McGraw was also serving a life sentence, had

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 36 of 37 Page ID #:279



1    been placed at FCI Butner for medical reasons, was dependent on a

2    wheelchair and oxygen, had chronic diarrhea, and proposed living with

3    his sister.      United States v. McGraw, No. 2:02-CR-00018-LJM, 2019 WL

4    2059488, at *2 (S.D. Ind. May 9, 2019).          These release orders do not

5    counsel in favor of granting relief to defendant.

6                4.     Even If Defendant Were Otherwise Eligible, 18 U.S.C.
                        § 3553(a) Factors Do Not Support a Shorter Sentence
7

8          Finally, any compassionate-release decision--even for a

9    statutorily eligible defendant--must also consider the factors under

10   18 U.S.C. § 3553(a).      See 18 U.S.C. § 3582(c)(1)(A)(i).        Those

11   factors--which this Court already considered when imposing

12   defendant’s life sentences--do not support his request for premature,

13   permanent release.      They support his original sentence.

14         Defendant makes essentially three arguments in this regard.

15   First, he points out that his drug conspiracy and distribution

16   convictions, while serious, did not involve violence.            (Mot. at 29.)

17   However, not only was this likely considered by the sentencing

18   courts, it is true in only a narrow, literal sense.            Defendant may

19   not have been convicted for crimes of violence, but there can be no

20   serious dispute that the narcotic trafficking activities of the

21   Guadalajara cartel, a criminal enterprise for which defendant

22   convicted of organizing, entailed a great deal of violence.             Second,

23   defendant asserts that his sentences were improperly influenced by

24   the criminal charges arising from the Kiki Camarena murder case.

25   This is conjecture; given defendant’s long criminal history and the

26   sheer scale of the crimes for which he was convicted, there was

27   plenty of support for imposing a life sentence even without the

28   Camarena case.

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     Case 2:85-cr-00606-JAK Document 257 Filed 04/26/20 Page 37 of 37 Page ID #:280



1          By imposing two consecutive life sentences, the sentencing

2    courts clearly intended that defendant spend the remainder of his

3    life in federal custody.       Granting compassionate release would negate

4    that.   Moreover, defendant’s plan to live with his adult children in

5    Honduras means that he would not be subject to any form of

6    supervision upon release. The law, and the specific facts of

7    defendant’s case, neither demand nor endorse that result.

8    IV.   CONCLUSION
9          Defendant’s motion for compassionate release should be

10   dismissed.    Even if the Court could reach the merits of defendant’s

11   motion, the motion should be denied for the reasons set forth above.

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